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                                                                        YAKUB MULAYEV and
                                                                      9 DIANA SKAZOVSKI
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                                                                     10                      UNITED STATES DISTRICT COURT
                                                                     11                                CENTRAL DISTRICT OF CALIFORNIA
                                                                     12                                                 WESTERN DIVISION
                           6442 Coldwater Canyon Avenue, Suite 209
                              North Hollywood, California 91606




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                                                                           YAKUB MULAYEV and DIANA                                           CASE NO. 2:21−cv-08984-JAK-AFM
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                                                                           SKAZOVSKI, individually and on
                                                                           behalf of all others similarly situated,                          Hon. John A. Kronstadt
                                                                     15                                                                      Courtroom 10B
                                                                                               Plaintiff,
                                                                     16              v.
                                                                                                                                             NOTICE OF SETTLEMENT
                                                                     17    MATRIX WARRANTY SOLUTIONS,
                                                                           INC.; SING FOR SERVICE, LLC dba Action Filed:                                 November 16, 2021
                                                                     18    MEPCO; VEHICLE ACTIVATION
                                                                           CENTER dba THE ELEMENT; and     Trial Date:                                   Not set
                                                                     19    PLATEAU CASUALTY
                                                                           INSURANCE COMPANY,
                                                                     20
                                                                     21                        Defendants.

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                                                                          Yakub Mulayev, et al v. Matrix Warranty Solutions, Inc., et al                  NOTICE OF SETTLEMENT
                                                                          Case No.: 2:21-cv-08984-JAK-AFM
                                                               Case 2:21-cv-08984-JAK-AFM Document 15 Filed 12/20/21 Page 2 of 2 Page ID #:323


                                                                      1            TO THE HONORABLE COURT, ALL PARTIES AND THEIR
                                                                      2 COUNSEL OF RECORD:
                                                                      3            PLEASE TAKE NOTICE that Plaintiffs and Defendants have a reached a
                                                                      4 settlement resolving the above-captioned case in its entirety. A formal settlement
                                                                      5 agreement will be circulated between the parties for review, approval, and execution.
                                                                      6 Once all of the appropriate signatures have been obtained, Plaintiffs will immediately
                                                                      7 file a Notice of Dismissal Pursuant to Federal Rules of Civil Procedure 41(a).
                                                                      8
                                                                      9 DATED: December 20, 2021                        DAVIDOVICH STEIN LAW GROUP LLP
DAVIDOVICH STEIN LAW GROUP LLP




                                                                     10
                                                                                                                        By: /s/ Elan N. Stone
                                                                     11                                                     NIV V. DAVIDOVICH
                                                                     12                                                     CHARLIE Z. STEIN
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                                                                                                                            Attorneys for Plaintiffs
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                                                                                                                            YAKUB MULAYEV; DIANA SKAZOVSKI;
                                                                     15                                                     and the putative class
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                                                                          Yakub Mulayev, et al v. Matrix Warranty Solutions, Inc., et al         NOTICE OF SETTLEMENT
                                                                          Case No.: 2:21-cv-08984-JAK-AFM
